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                        Special Report
                            Exhibit 6:


 Affidavit of Terry Underwood, Grievance
 Coordinator, Davis Correctional Facility
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